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PILES
UNITED STATES DISTRICT COURT OOSEP-6 PH 4:29
NORTHERN DISTRICT OF ALABAMA eae.
EASTERN DIVISION US. Gloikici cour
NO.OF AL ARAMA

ALETHA BURNS; JUEL ROBERTS,
Plaintiffs,

CV 00-BU-2459-E

ENTERE “

SEP 0 6

Vs.

AMERICAN GENERAL LIFE &
ACCIDENT INSURANCE COMPANY;
et al.,

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Defendants.

ORDER

On September 1, 2000, Defendant American General filed a notice of removal.
(Doc. 1), removing this case from the Circuit Court of Calhoun County on the basis of
diversity jurisdiction. The Court, having reviewed Defendant America General’s notice of
removal, finds that Defendant’s notice of removal does not show that Plaintiffs’ claims
satisfy the amount-in-controversy jurisdiction requirement; therefore this Court is without
subject-matter jurisdiction and the case is due to be remanded to the Circuit Court of
Calhoun County.

Federal courts are courts of limited jurisdiction. Therefore, this Court may hear only
cases that the Constitution or Congress has authorized. A federal court has jurisdiction
over cases involving parties from different states when the amountin controversy exceeds

$75,000, excluding interest and costs. 28 U.S.C. § 1332(a). The defendant, in such a

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case, may remove an action from state court to federal court if the case originally could
have been brought in federal court. 28 U.S.C. § 1441(a).

A defendant seeking to remove a case from state court to federal court has the
burden of proving the existence of federal jurisdiction. Crowe v. Coleman, 113 F.3d 1536,
1538 (11" Cir. 1997). Because federal jurisdiction is limited, the Eleventh Circuit has held
that cases removed from state court are to be remanded “where federal jurisdiction is not
absolutely clear." Lowe’s OK'd Used Cars, Inc. v. Acceptance Insurance Co., 995 F.
Supp. 1388, 1389 (M.D. Ala. 1998)(citing Burns v. Windsor Insurance Co., 31 F.3d 1092,
1095 (11" Cir. 1994))(emphasis added). To this end, removal statutes are strictly
construed, with all doubts resolved in favor of remand. /d. (citing Diaz v. Sheppard, 85
F.3d 1502, 1505 (11" Cir. 1996), cert. denied, 502 U.S. 1162, 117 S. Ct. 1349, 137 L. Ed.
2d 506 (1997)). Moreover, all facts alleged in the Complaint are construed in favor of
Plaintiffs and all “uncertainties’ regarding the substantive state law are resolved in favor of
Plaintiffs. Crowe v. Coleman, 113 F.3d 1536, 1538 (11" Cir. 1997).

Defendant contends that this case meets the amount-in-controversy requirement
for the following reason:

29. ‘Plaintiffs’ Complaint alleges a variety of common law claims and

seeks compensatory damages in an amount “not to exceed $60,000"

“against each defendant . . . jointly, .. .”. See Complaint at ad damnum

clause (emphasis supplied). Plaintiffs have sued nine defendants, seeking

$60,000 from each of those defendants. In the aggregate, Plaintiffs thus

seek $540,000 from the defendants in this case.

Doc. 1 (emphasis in original). Defendant's quotation from the complaint does not reflect

accurately Plaintiffs’ statement of their claim. Plaintiffs’ complaint states:

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WHEREFORE, PREMISES CONSIDERED, the Plaintiffs demand
judgment against each defendant, named and fictitious, jointly and severally,

for compensatory damages in an amount not to exceed $60,000.

Doc. 1, Exh. A (Complaint)’(emphasis added). Clearly - and unambiguously - Plaintiffs
assert that their “compensatory damages” are $60,000 -- not $540,000.

Because Plaintiffs’ complaint demands a judgment for a specific amount, Defendant
must “prove to a ‘legal certainty’ that [P]laintiff[s] would not recover less than [$75,000] if
[they] prevailed.” Sierminski v. Transouth Financial Corp., 216 F.3d 945, 947 (11th Cir.
2000)(citing Burns, 31 F.3d at 1094). “A defendant could remain in federal court if he
showed that, if plaintiff prevails on liability, an award below the jurisdictional amount would
be outside the range of permissible awards because the case is clearly worth more than
($75,000].” Burns, 31 F.3d at 1096. Defendant has offered no proof and does not allege
that Plaintiffs’ damages exceed $75,000 and/or that they would not recover less than
$75,000 if they prevail on their claims. Indeed, Defendant argues only that Plaintiffs’
complaint asks for $540,000 in compensatory damages, which it clearly does not.

Based on the foregoing, this Court finds that Defendants have failed to prove by a
preponderance of the evidence that the amount in controversy more likely than not
exceeds $75,000. Therefore, the Court ORDERS this action REMANDED to the Circuit

Court of Calhoun County, Alabama. Costs taxed against Defendants.

DONE this day of September, 2000.

HIDEAN BUTTRAM, JR.
UNITED STATES DISTRICT JUDGE

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UNITED STATES DISTRICT COURT
Northern District of Alabama
Office of the Clerk
Room 140, 1729 Sth Avenue North
Birmingham, Alabama 35203
(205) 278-1725

Perry Mathis
Clerk

September 6, 2000

Calhoun County Circuit Court
Ted Hooks, Clerk

Calhoun County Courthouse
25 W. 11" Street

Box 4

Anniston, AL 36201

Re: Aletha Burns, et al. v. American General Life & Accident Insurance
Company, et al.
Civil Action Number: CV-00-BU-2459-E
Your Case Number: CV-00-600

Dear Mr. Hooks:

In accordance with the order of this court entered this date, the above-entitled civil action is
remanded to your court for further litigation. Enclosed is a certified copy of the order of remand
and a certified copy of the docket entries. Please acknowledge receipt on the attached copy of this

letter.

Sincerely,

PERRY D. MATHIS, CLERK

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Shari Nofman |
Deputy Clerk

PDM:srm
Enclosures
